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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


SEVEN NETWORKS, LLC

               Plaintiff,                                   Civil Action No. 3:21-cv-1036-N

       v.

MOTOROLA MOBILITY LLC                                       JURY TRIAL DEMANDED

               Defendant.




                       AGREED AMENDED PROTECTIVE ORDER

Proceedings and Information Governed.

       1.     This Order (“Protective Order”) is made under Fed. R. Civ. P. 26(c). It governs any

document, information, or other thing furnished by any party to any other party, and it includes

any nonparty who receives a subpoena in connection with this action. The information protected

includes, but is not limited to: answers to interrogatories; answers to requests for admission;

responses to requests for production of documents; deposition transcripts and videotapes;

deposition exhibits; and other documents or things produced, given, or filed in this action that are

designated by a party as “Confidential Information,” “Confidential Attorney Eyes Only

Information,” “Confidential Source Code,” or “Third Party Google Confidential Attorney Eyes

Only Information” in accordance with the terms of this Protective Order, as well as to any copies,

excerpts, abstracts, analyses, summaries, descriptions, or other forms of recorded information

containing, reflecting, or disclosing such information.
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Designation and Maintenance of Information.

       2.     For purposes of this Protective Order, (a) the “Confidential Information” designation

means that the document is comprised of trade secrets or commercial information that is not

publicly known and is of technical or commercial advantage to its possessor, in accordance with

Fed. R. Civ. P. 26(c)(1)(G), or other information required by law or agreement to be kept

confidential, (b) the “Confidential Attorney Eyes Only” designation means that the document is

comprised of information that the producing party deems especially sensitive, which may include,

but is not limited to, confidential research and development, financial, technical, marketing, or any

other sensitive trade-secret information, or information capable of being utilized for the

preparation or prosecution of a patent application dealing with such subject matter, (c) the

“Confidential Source Code” designation means extremely sensitive, highly-confidential, and non-

public computer source code, including any developer comments or revision histories in the source

code, disclosure of which to another Party or Non-Party would create a substantial risk of serious

harm that could not be avoided by less restrictive means, and (d) the “Third Party Google

Confidential Attorney Eyes Only” designation means that the document is comprised of third-

party Google information that the producing party deems especially sensitive, which may include,

but is not limited to, confidential research and development, financial, technical, marketing, or any

other sensitive trade-secret information, or information capable of being utilized for the

preparation or prosecution of a patent application dealing with such subject matter. Confidential

Information, Confidential Attorney Eyes Only Information, Confidential Source Code, and Third

Party Google Confidential Attorney Eyes Only does not include, and this Protective Order does

not apply to, information that is already in the knowledge or possession of the party to whom

disclosure is made unless that party is already bound by agreement not to disclose such




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information, or information that has been disclosed to the public or third persons in a manner

making such information no longer confidential.

       3.      Documents and things produced during the course of this litigation within the scope

of paragraph 2(a) above, may be designated by the producing party as containing Confidential

Information by placing on each page and each thing a legend substantially as follows:

        CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER

       Documents and things produced during the course of this litigation within the scope of

paragraph 2(b) above may be designated by the producing party as containing Confidential

Attorney Eyes Only Information by placing on each page and each thing a legend substantially as

follows:

               CONFIDENTIAL ATTORNEY EYES ONLY INFORMATION
                       SUBJECT TO PROTECTIVE ORDER

       Documents and things produced during the course of this litigation within the scope of

paragraph 2(b) above may be designated by the producing party as containing Confidential Source

Code by placing on each page and each thing a legend substantially as follows:

                             CONFIDENTIAL SOURCE CODE
                            SUBJECT TO PROTECTIVE ORDER

       Documents and things produced during the course of this litigation within the scope of

paragraph 2(b) above may be designated by the producing party as containing Third Party Google

Confidential Attorney Eyes Only Information by placing on each page and each thing a legend

substantially as follows:

           THIRD PARTY GOOGLE CONFIDENTIAL ATTORNEY EYES ONLY
                               INFORMATION
                     SUBJECT TO PROTECTIVE ORDER

       A party may designate information disclosed at a deposition as Confidential Information,

Confidential Attorney Eyes Only Information, Confidential Source Code, or Third Party Google


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Confidential Attorney Eyes Only Information by requesting the reporter to so designate the

transcript or any portion of the transcript at the time of the deposition. If no such designation is

made at the time of the deposition, any party may remedy the inadvertent failure to designate as

provided in Section III.D.6 of the parties’ Joint Report Regarding Contents of the Scheduling

Order. Each party and the court reporter must attach a copy of any final and timely written

designation notice to the transcript and each copy of the transcript in its possession, custody or

control, and the portions designated in such notice must thereafter be treated in accordance with

this Protective Order. It is the responsibility of counsel for each party to maintain materials

containing Confidential Information, Confidential Attorney Eyes Only Information, Confidential

Source Code, or Third Party Google Confidential Attorney Eyes Only Information in a secure

manner and appropriately identified so as to allow access to such information only to such persons

and under such terms as is permitted under this Protective Order.

Inadvertent Failure to Designate.

       4.      The inadvertent failure to designate or withhold any information as confidential or

privileged will be governed by Section III.D.6 of the parties’ Joint Report Regarding Contents of

the Scheduling Order.

Challenge to Confidentiality Designations.

       5.      A receiving party may challenge a producing party’s designation at any time. Any

receiving party disagreeing with a designation may request in writing that the producing party

change the designation. The producing party will then have ten (10) business days after receipt of

a challenge notice to advise the receiving party whether or not it will change the designation. If

the parties are unable to reach agreement after the expiration of this ten (10) business day time

frame, and after the conference required under Local Rule 7.1(a), the receiving party may




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thereafter seek an order to alter the confidential status of the designated information within ten

(10) days after the Local Rule 7.1(a) conference. Until any dispute under this paragraph is ruled

upon by the presiding judge, the designation will remain in full force and effect, and the

information will continue to be accorded the confidential treatment required by this Protective

Order based on its designation.

Disclosure and Use of Confidential Information.

        6.     Information designated as Confidential Information, Confidential Attorney Eyes

Only Information, or Confidential Source Code may only be used for purposes of preparation,

trial, and appeal of this action. Confidential Information, Confidential Attorney Eyes Only

Information, or Confidential Source Code may not be used under any circumstances for

prosecuting any patent application, for patent licensing, or for any other purpose.

        7.     Subject to paragraph 8 below, Confidential Information, Confidential Attorney

Eyes Only Information, or Confidential Source Code may be disclosed by the receiving party only

to the following individuals, provided that such individuals are informed of the terms of this

Protective Order:

        (a)    outside counsel for the receiving party and their supporting personnel such as

               paralegals, legal secretaries, data-entry clerks, legal clerks, and private

               photocopying and litigation support services;

        (b)    experts or consultants—but no more than 6 total receiving party experts or

               consultants may view the producing party’s Confidential Source Code;1 and

        (c)    any persons requested by counsel to furnish services such as document coding,



1
 If an expert or consultant that is designated as one of the 6 able to view source code becomes
unavailable due to unforeseen circumstances, the party that retained the expert or consultant shall
have a reasonable ability to designate a replacement.


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               image scanning, mock trial, jury profiling, translation services, court-reporting

               services, demonstrative exhibit preparation, or the creation of any computer

               database from documents.

        (d)    those individuals designated in paragraph 10(c).

        8.     Further, prior to disclosing Confidential Information, Confidential Attorney Eyes

Only Information, or Confidential Source Code to a receiving party’s proposed expert, consultant,

or employees, the receiving party must provide to the producing party a signed Confidentiality

Agreement in the form attached as Exhibit A, the resume or curriculum vitae of the proposed

expert or consultant containing the expert’s complete education and employment history and all

of the information specified by Rule 26(a)(2)(b)(iv)-(v), the expert or consultant’s current business

affiliation, and any current and past consulting relationships.2 If the producing party believes that

the disclosure is inadequate, it must notify the receiving party within five (5) business days. Once

the proposed expert or consultant is fully disclosed pursuant to this paragraph, the producing party

will thereafter have ten (10) business days to object to any proposed individual. The objection

must be made for good cause and in writing, stating with particularity the reasons for the objection.

Failure to object within ten (10) business days constitutes approval. The parties shall meet and

confer in good faith to resolve any objection within ten (10) business days of the objection. If the

parties are unable to resolve any objection, the receiving party may file a motion to resolve the

matter within ten (10) business days after the conference required by Local Rule 7.1(a). There will

be no disclosure to any proposed individual during the ten (10) business day objection period,

unless that period is waived by the producing party, or if any objection is made, until the parties

have resolved the objection, or the presiding judge has ruled upon any resultant motion.


2
  For clarification, a consulting relationship is not merely serving as an expert witness in a
litigation.


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       9.        Counsel is responsible for the adherence by third-party vendors to the terms and

conditions of this Protective Order. Counsel may fulfill this obligation by obtaining a signed

Confidentiality Agreement in the form attached as Exhibit B.

       10.       Confidential Information, Confidential Attorney Eyes Only Information, or

Confidential Source Code may be disclosed to a person who is not already allowed access to such

information under this Protective Order if:

       (a)     the information was previously received or authored by the person or was authored

               or received by a director, officer, employee, or agent of the company for which the

               person is testifying as a designee under Fed. R. Civ. P. 30(b)(6);

       (b)     the person is the designating party, or is a director, officer, employee, consultant,

               or agent of the designating party; or

       (c)     counsel for the party designating the material agrees that the material may be

               disclosed to the person.

       In the event of disclosure under this paragraph, only the reporter, the person, his or her

counsel, the presiding judge, and persons to whom disclosure may otherwise be made under and

who are bound by this Protective Order, may be present during the disclosure or discussion of the

Confidential Information, Confidential Attorney Eyes Only Information, or Confidential Source

Code. Disclosure of material pursuant to this paragraph does not constitute a waiver of the

confidential status of the material so disclosed.

Nonparty Information.

       11.       The existence of this Protective Order must be disclosed to any person producing

documents, tangible things, or testimony in this action who may reasonably be expected to desire

confidential treatment for such documents, tangible things, or testimony. Any such person may




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designate documents, tangible things, or testimony confidential pursuant to this Protective Order.

Filing Documents With the Court.

         12.    If any party wishes to submit Confidential Information or Confidential Attorney

Eyes Only Information to the Court, the submission must be filed using the Sealed and/or Ex Parte

Motion event. The word “Sealed” must appear in the title or caption of any document intended for

filing under seal (and any proposed order you believe should be filed under seal if entered by the

judge). Submission of Confidential Source Code to the Court is governed by paragraphs 25-26

below.

         13.    Producing or receiving Confidential Information, Confidential Attorney Eyes

Only Information, Confidential Source Code, or otherwise complying with the terms of this

Protective Order, will not (a) operate as an admission by any party that any particular Confidential

Information, Confidential Attorney Eyes Only Information, or Confidential Source Code contains

or reflects trade secrets or any other type of confidential or proprietary information; (b) prejudice

the rights of a party to object to the production of information or material that the party does not

consider to be within the scope of discovery; (c) prejudice the rights of a party to seek a

determination by the presiding judge that particular materials be produced; (d) prejudice the rights

of a party to apply to the presiding judge for further protective orders; or (e) prevent the parties

from agreeing in writing to alter or waive the provisions or protections provided for in this

Protective Order with respect to any particular information or material.

Conclusion of Litigation.

         14.     Within sixty (60) calendar days after final judgment in this action, including the

exhaustion of all appeals, or within sixty (60) calendar days after dismissal pursuant to a settlement

agreement, each party or other person subject to the terms of this Protective Order is under an



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obligation to destroy or return to the producing party all materials and documents containing

Confidential Information, Confidential Attorney Eyes Only Information, or Confidential Source

Code, and to certify to the producing party that this destruction or return has been done. However,

outside counsel for any party is entitled to retain one copy of all court papers, trial transcripts,

exhibits, and attorney work product, provided that any such materials are maintained and protected

in accordance with the terms of this Protective Order.

Other Proceedings.

       15.      By entering this Protective Order and limiting the disclosure of information in this

case, the presiding judge does not intend to preclude another court from finding that information

may be relevant and subject to disclosure in another case. Any person or party subject to this

Protective Order who may be subject to a motion to disclose another party or third party’s

information designated Confidential Information, Confidential Attorney Eyes Only Information,

or Confidential Source Code pursuant to this Protective Order must promptly notify that party or

third party of the motion so that the party or third party may have an opportunity to appear and be

heard on whether that information should be disclosed.

Remedies.

       16.      It is Ordered that this Protective Order will be enforced by the sanctions set forth

in Fed. R. Civ. P. 37(b) and any other sanctions as may be available to the presiding judge,

including the power to hold parties or other violators of this Protective Order in contempt. All

other remedies available to any person injured by a violation of this Protective Order are fully

reserved.

       17.      Any party may petition the presiding judge for good cause shown if the party

desires relief from a term or condition of this Protective Order.



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Source Code.

       18.     Protected Material designated as Confidential Source Code shall be subject to all

of the protections afforded to Confidential Attorney Eyes Only information, including the

Prosecution Bar set forth in Paragraph 28 below and the Acquisition Bar set forth in Paragraph 29

below, and may be disclosed only as set forth in Paragraph 8 above.

       19.     Any source code produced in discovery shall only be made available for inspection,

not produced except as set forth below, in a format allowing it to be reasonably reviewed and

searched, during normal business hours or at other mutually agreeable times, in person at the Texas

office of outside counsel if this case remains pending in Texas. If the case is transferred out of

Texas, the parties need not continue to host in-person review in Texas if it is impractical, and will

meet and confer in an effort to agree upon another reasonable review location. The parties may

also make the code available at any other mutually agreed upon location. The source code shall be

made available for inspection on two secured computers (the “Source Code Computers”) in a

secured, locked room without Internet access or network access to other computers, and the

receiving party shall not copy, remove, or otherwise transfer any portion of the source code onto

any recordable media or recordable device. The producing party will make a good faith effort to

provide legitimate review tools to the Source Code Computers as requested by the receiving party.

The receiving party shall provide a license to the requested review tools should the producing party

not already have one. The Source Code Computers shall have disk encryption and be password

protected, and the producing party may lock all input/output ports on the Source Code Computers.

Except as provided in paragraph 22, use or possession of any input/output device (e.g., USB

memory stick, mobile phone or tablet, camera or any camera-enabled device, CD, floppy disk,

portable hard drive, laptop, or any device that can access the Internet or any other network or



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external system, etc.) is prohibited while accessing the Source Code Computers. All persons

entering the locked room containing the Source Code Computers must submit to reasonable

security measures to ensure they are not carrying any prohibited items before they will be given

access to the locked room. The Source Code Computers will be made available for inspection

during regular business hours (9:00 A.M. to 5:00 P.M. local time), upon reasonable notice to the

producing party, which shall not be less than 3 business days in advance of the requested

inspection. The producing party may visually monitor the activities of the receiving party’s

representatives during any source code review, but only to ensure that there is no unauthorized

recording, copying, or transmission of the source code.

       20.     No person shall copy, e-mail, transmit, upload, download, print, photograph or

otherwise duplicate any portion of the designated Confidential Source Code, except that the

receiving party may request a reasonable amount of paper copies of portions of source code.3 The

receiving party shall not request paper copies for the purposes of reviewing Confidential Source

Code other than electronically as set forth in paragraph 19 above in the first instance. Within 5

business days, the producing party will provide five (5) copy sets of the requested material on

watermarked or colored paper bearing Bates numbers and the legend “Confidential Source Code”

unless objected to as discussed below. The producing party may challenge the amount of source

code requested in hard copy form or whether the source code requested in hard copy form is

reasonably necessary by filing a motion with the Court within ten days of the request. Contested



3
  The parties agree to meet and confer in an effort to agree upon reasonable printing limits for
Confidential Source Code after they have a chance to review one another’s productions of
Confidential Source Code. If the parties are unable to agree upon such printing limits before
either of them makes a source code print request, then, at any other time, either party may
unilaterally seek a further Court Order to (1) impose printing limits or (2) block a source code
print request.


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printouts do not need to be produced to the receiving party until the matter is resolved by the Court.

       21.     The receiving party shall maintain a record of any individual who has inspected any

portion of the source code in electronic or paper form. The receiving party shall maintain all printed

portions of the source code in a secured, locked area under the direct control of counsel responsible

for maintaining the security and confidentiality of the designated materials. Any paper copies

designated Confidential Source Code shall be stored or viewed only at (i) the offices of outside

counsel for the receiving party, (ii) the offices of outside experts or consultants who have been

approved to access source code; (iii) the site where any deposition is taken (iv) the Court; or (v)

any intermediate location necessary to transport the information to a hearing, trial, or deposition.

Except as provided in paragraphs 25-26 below, the receiving party shall not create any electronic

or other images of the paper copies and shall not convert any of the information contained in the

paper copies into any electronic format. Any printed pages of source code, and any other

documents or things reflecting source code that have been designated by the producing party as

Confidential Source Code may not be copied, digitally imaged or otherwise duplicated, except in

limited excerpts necessary to attach as exhibits to depositions, expert reports, or court filings as

discussed below. Any paper copies used during a deposition shall be retrieved by the receiving

party at the end of each day and must not be given to or left with a court reporter or any other

unauthorized individual.

       22.     The producing party will provide the requesting party’s expert(s) a break room

(e.g., to make phone calls and work) for each day of the code review during normal business hours,

to the extent available. The receiving party’s outside counsel and/or experts shall be entitled to

take notes relating to the source code but may not copy any portion of the source code into the

notes. In order to take notes during the review, the requesting party’s expert(s) are entitled to use



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one computer per expert/consultant (“expert’s computer”). The receiving party and its expert(s)

are responsible to provide their own expert’s computer for note taking. Each expert’s computer

must have the network drive permanently uninstalled so that it cannot be connected to the Internet.

Upon request, the receiving party shall allow the producing party to inspect the expert’s computer

to ensure that the network drive is uninstalled. Further, each expert’s computer must have all of

its external ports, adapters, and cameras disabled at all times, except as immediately follows in

this paragraph. Upon request, the receiving party shall allow the producing party to inspect the

expert’s computer to ensure that all of its external ports, adapters, and cameras are disabled. At

the end of each review day, the requesting party’s expert must notify the receiving party that s/he

is finished with review for the day, and show the receiving party that the external ports, adapters,

and cameras on the expert’s computer remain disabled. Only then, under the supervision of the

receiving party, the expert may take the expert’s computer to the break room, enable the USB port,

immediately move his or her notes from the expert’s computer to an external USB drive, and then

immediately re-disable the USB port and return the expert’s computer to the source code review

room. At no other time may any external ports, adapters, or cameras be enabled on the expert’s

computer, and at no other time may the expert’s computer leave the source code review room.

Except for the expert’s computer for taking notes during the review, no other recordable media or

recordable devices, including without limitation sound recorders, computers, cellular telephones,

peripheral equipment, cameras, CDs, DVDs, or drives of any kind, shall be permitted into the

source code review room. Counsel for the producing party is not permitted to review any notes

made by the receiving party. No copies of all or any portion of the Confidential Source Code may

leave the room in which the Source Code Computer is inspected except as otherwise provided

herein. Further, no other written or electronic record of the Confidential Source Code is permitted




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except as otherwise provided herein.

         23.   A list of names of persons who will view the Confidential Source Code will be

provided to the producing party in conjunction with any written (including email) notice requesting

inspection. The receiving party shall maintain a log of the names of persons who enter the locked

room to view the Confidential Source Code and the times when they start and end their review

each day. For clarity, the receiving party need not log the other times when the reviewer leaves or

enters the locked room during the course of a review day—i.e., to use the restroom, eat a meal,

make a phone call, etc.—the receiving party only needs to log the start and end time of each day’s

review. If the reviewer leaves the locked room during the course of a day’s review, the reviewer

shall lock the Source Code Computers and the producing party’s outside counsel and/or support

personnel may enter the locked room to ensure that the Source Code Computers are locked.

         24.   The receiving party’s outside counsel shall maintain a log of all copies of any other

party’s Confidential Source Code that are delivered by the receiving party to any person. The log

shall include the names of the recipients and reviewers of such copies, and the locations where the

copies are stored. The receiving party, including its authorized experts and consultants, agrees to

store all copies of a producing party’s Confidential Source Code in a locked room or locked cabinet

at all times when it is not in active use or in transit as permitted by the terms of this Protective

Order.

         25.   Except as provided in this paragraph, the receiving party may not create electronic

images, or any other images, of the Confidential Source Code from the paper copy for use on a

computer (e.g., the receiving party may not scan the source code to a PDF, or photograph the

source code). The receiving party may create an electronic copy or image of limited excerpts of




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source code only to the extent necessary in a pleading, exhibit, expert report, discovery document,4

deposition transcript, other Court document, or any drafts of these documents5 (collectively

“SOURCE CODE DOCUMENTS”). The receiving party shall only include such excerpts as are

reasonably necessary for the purposes for which such part of the Confidential Source Code is

used. Images or copies of Confidential Source Code shall not be included in correspondence

between the parties (references to production numbers shall be used instead) and shall be omitted

from pleadings and other papers except to the extent permitted herein. The receiving party may

create an electronic image of a selected portion of the Confidential Source Code only when the

electronic file containing such image has been encrypted using commercially reasonable

encryption software including password protection. Notwithstanding the previous sentence, the

parties may submit unencrypted electronic files that contain Confidential Source Code to a court

only if submitting encrypted electronic files is not permitted or reasonably practical—in such

cases, the parties must, in good faith, minimize the amount of Confidential Source Code in such

submissions. The communication and/or disclosure of electronic files containing any portion of

Confidential Source Code shall at all times be limited to individuals who are authorized to see

Confidential Source Code under the provisions of this Protective Order.            Additionally, all

electronic copies must be labeled “Confidential Source Code.”

       26.     To the extent portions of source code are quoted in a discovery document SOURCE

CODE DOCUMENT, either (1) the entire document will be stamped and treated as Confidential

Source Code or (2) those pages containing quoted Confidential Source Code will be separately


4
  For clarity, the term “discovery document” as used herein does not mean a document for
production, but rather refers to documents such as written contentions or other written discovery
responses.
5
  Drafts shall only include those excerpts the receiving party believes will be included in the final
version.


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bound, and stamped and treated as Confidential Source Code. To the extent portions of source

code are quoted in a document for production, only those portions containing quoted Confidential

Source Code will be separately redacted and treated as Confidential Source Code. In that instance,

a copy of the document with only the Confidential Source Code redacted shall be produced under

the appropriate designation, and the producing party will make an unredacted copy of the

document available on the Source Code Computers subject to the restrictions in this Protective

Order regarding Confidential Source Code.

       27.     The receiving party shall maintain a log of all electronic images and paper copies

of Confidential Source Code in its possession or in the possession of its retained consultants,

including the names of the recipients and reviewers of any electronic or paper copies and the

locations where the copies are stored.

       28.     At least five (5) business days in advance of the date upon which the receiving party

wishes to use the source code computers, the receiving party shall identify the licensed software

tools it wishes to have installed and available for use on the source code computers, and provide,

on a CDROM or other medium, a properly licensed copy of the software it requests to be installed.

Any costs associated with acquiring licenses to requested software tools shall be borne by the

receiving party. In the event that there are issues concerning the installation or use of such tool,

the parties, and their technical staff, shall meet and confer promptly to resolve such issues. The

parties agree that the following software tools are pre-approved for the purposes of this Action.

However, no party provides any warranty or representation about the functionality or compatibility

of any of the following tools with the Source Code Computers. To the extent other tools are

requested, the producing party should not unreasonably withhold installation of such tools, but

under no circumstances may any tools be installed on the Source Code Computers that can be used



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to translate source code on the review computers into a format such as assembly language, object

code, or machine code to create an executable. If after meeting and conferring, the parties cannot

resolve an objection to a source code tool, the producing party shall move for a protective order

within five (5) days:

                SlickEdit (http://www.slickedit.com)
                Understand (http://www.scitools.com)
                Beyond Compare (http://www.scootersoftware.com)
                Acrobat Reader (http://get.adobe.com/reader)
                Eclipse (https://www.eclipse.org/downloads/packages/release/2019-03/r/eclipse-
                 ide-cc-developers)
                Cygwin (http://www.cygwin.com)
                Notepad++ (https://notepad-plus-plus.org/download/v7.4.2.html)
                PowerGrep (http:///www.powergrep.com)
                CLOC (https://sourceforge.net/projects/cloc/files/cloc/v1.64)
                Microsoft Office (https://products.office.com/en-us/compare-allmicrosoft-office-
                 products)

Prosecution Bar.

       29.       Absent written consent from the producing party, any individual who receives

access to Confidential Information, Confidential Attorney Eyes Only Information, or Confidential

Source Code (other than financial information) shall not be involved in the prosecution of patents

or patent applications relating to the subject matter of the claimed inventions of the patents-in-suit,

including without limitation the patents asserted in this action and any patent or application

claiming priority to or otherwise related to the patents asserted in this action, before any foreign

or domestic agency, including the United States Patent and Trademark Office (“the Patent

Office”), as well as any patents or patent applications owned by Motorola or Lenovo relating to

the subject matter of the claimed inventions of the patents-in-suit. For purposes of this paragraph,

“prosecution” includes, for example, original prosecution, reissue, and reexamination proceedings

and means directly or indirectly drafting, amending, or advising others as to the drafting or



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amending of patent claims. To avoid any doubt, “prosecution” as used in this paragraph does not

include representing a party challenging or defending a patent before a domestic or foreign agency

(including, but not limited to, a reissue protest, ex parte reexamination, inter partes reexamination,

inter partes review, post grant review, or covered business method review). This Prosecution Bar

shall begin when access to Confidential Information, Confidential Attorney Eyes Only

Information, or Confidential Source Code (other than financial information) is first received by

the affected individual and shall end for the affected individual eighteen (18) months after final

termination of this action.

Third Party Google Confidential Attorney Eyes Only Information.

       30.     Third Party Google Confidential Attorney Eyes Only Information shall be subject to

all of the protections afforded to Confidential Attorney Eyes Only information, including the

Prosecution Bar set forth in Paragraph 29 above, and may be disclosed only as set forth in

Paragraph 8 above.

       31.     In addition, Third Party Google Confidential Attorney Eyes Only Information will:

               (a) only be disclosed or used in this case (SEVEN Networks LLC v. Motorola

                   Mobility LLC, No. 3:21-cv-01036-N);

               (b) be produced only to Seven Networks, LLC’s outside counsel and Motorola

                   Mobility LLC’s outside counsel (which means that the documents cannot be

                   produced to any other parties (e.g., other defendants or third parties, if any) in

                   this case) but, for clarification, the documents produced to Seven Networks,

                   LLC’s outside counsel may be shared with or produced to anyone permitted to

                   view Confidential Attorney Eyes Only Information in this matter (including but

                   not limited to experts);



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              (c) will not be transported or transmitted outside the territorial boundaries of the

                  United States of America in either physical or electronic form.

       32.    For ease of identification, the documents with the MTRL-GOOG Bates number

identifier are Third Party Google Confidential Attorney Eyes Only Information.




       Signed September 19, 2022.

                                            __________________________________
                                            David C. Godbey
                                            Chief United States District Judge




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